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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

WILMER CUTLER PICKERING HALE
AND DORR LLP,

Plaintiff,

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

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V. ) Civil Case No. 25-cv-917 (RJL)
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Defendant. )

MEMORANDUM ORDER
Fn
025 [Dkt. #3]

March 2k

This matter comes before the Court on plaintiffs Motion for a Temporary
Restraining Order [Dkt. #3]. For the reasons set forth below, I will GRANT IN PART
and DENY IN PART plaintiff's motion and issue a temporary restraining order (“TRO”)
as to Sections 3 and 5 of the Executive Order issued on March 27, 2025, entitled
“Addressing Risks from WilmerHale.”

Plaintiff has shown “‘(1) a substantial likelihood of success on the merits, (2) that it
would suffer irreparable injury if the [TRO] were not granted, (3) that [the TRO] would
not substantially injure other interested parties, and (4) that the public interest would be
furthered’ by the TRO.” Am. Foreign Serv. Ass’n v. Trump, --- F. Supp. 3d ---, 2025

WL435415, at *1 (D.D.C. Feb. 7, 2025) (Nichols, J.) (quoting Chaplaincy of Full Gospel
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Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)). Here, because plaintiff seeks
to enjoin the Government, the third and fourth factors merge. /d.

As to the first factor, plaintiff has shown a likelihood of success on the merits of its
First Amendment claims as to Sections 3 and 5 of the Executive Order. Undisputably, “the
First Amendment prohibits government officials from subjecting individuals to ‘retaliatory
actions’ after the fact for having engaged in protected speech.” Houston Cmty. Coll. Sys.
v. Wilson, 595 U.S. 468, 474 (2022) (quoting Nieves v. Bartlett, 587 U.S. 391, 398 (2019)).
This prohibition includes retaliatory actions based on perceived viewpoint. The retaliatory
nature of the Executive Order at issue here is clear from its face—not only from Section 1,
but also from the Fact Sheet published the same day. Indeed, the Executive Order requires
government contracting agencies to disclose, review, and terminate all contracts with
plaintiff—that is Section 3—and restricts WilmerHale employees from access to federal
officials, buildings, and employment—that is Section 5. There is no doubt this retaliatory
action chills speech and legal advocacy, or that it qualifies as a constitutional harm.

Regarding Section 2, however, plaintiff has not met its burden in showing a
likelihood of success on the merits. Our Circuit has held that security clearance decisions
are within the purview of the Executive Branch, see Lee v. Garland, 120 F.4th 880 (D.C.
Cir. 2024), and plaintiff has not pointed to persuasive authority that would support
extraordinary injunctive relief at this early stage.

As to the second factor, the Court finds that plaintiff would suffer irreparable injury
should the Court deny a TRO as to Sections 3 and 5 of the Executive Order. As an initial

matter, violations of plaintiff's constitutional rights constitute irreparable harm, even if the

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violations occur only for short periods of time. Moreover, implementation of Sections 3
and 5 would cause specific, irreparable, and non-remediable economic and reputational
harm to plaintiff. While economic loss does not always warrant a TRO, this is not a typical
situation because plaintiff faces more than economic harm—it faces crippling losses and
its very survival is at stake.

Indeed, enforcing Section 3—the government contracts provision—would threaten
almost one-third of plaintiff's revenues. The declaration of Bruce Berman states that “[a]t
least 21 of the firm’s 25 largest clients in 2024 have contracts with federal agencies. These
21 clients accounted for more than 30% of the Firm’s revenue in 2024—nearly $500
million.” Berman Decl. ¢ 30 [Dkt. #3-2]. Plaintiff is also “currently handling over 100
open government contracting matters involving various federal agencies.” Jd. 431. Losing
these clients as a result of Section 3 would be a devastating blow to plaintiff—threatening
plaintiff's very existence. This says nothing of the potential clients who may not even
consider hiring plaintiff because of their concerns about losing government contracts.

Regarding Section 5—the personnel provision—it is clear that plaintiffs business
is inextricably intertwined with interactions with the federal government. The Berman
Declaration states that WilmerHale attorneys are working on approximately 1,110 matters
before or involving federal agencies. Jd. § 28. WilmerHale attorneys are scheduled to
attend meetings on behalf of clients at the Department of Justice (“DOJ”) on March 31,
2025 and the Securities and Exchange Commission (“SEC”) on April 1, 2025. Jd. § 80.
According to the Berman Declaration, plaintiff does not know either if its attorneys will be

denied access to DOJ or the SEC, or if the federal employees will refuse to meet with them.

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Id. Plaintiffs counsel stated during the TRO hearing that since the Executive Order issued,
the federal government has already cancelled two meetings with plaintiffs attorneys, at the
last minute and without explanation. Should Section 5 be enforced, plaintiff would be
thoroughly hamstrung from representing clients because its attorneys could not enter
federal courthouses or other buildings, or meet with federal employees regarding cases.
The impact on plaintiff's business and reputation cannot be overstated. Thus, I find that
the second factor, irreparable injury, favors granting a TRO regarding Sections 3 and 5.

Finally, the third factor, the balance of the equities and public interest, also favor
issuing a TRO preventing enforcement of Sections 3 and 5. The injuries to plaintiff here
would be severe and would spill over to its clients and the justice system at large. The
public interest demands protecting against harms of this magnitude.

Therefore, it is hereby

ORDERED that plaintiff's Motion for a Temporary Restraining Order [Dkt. #3] is
GRANTED as to Sections 3 and 5 of the Executive Order entitled “Addressing Risks from
WilmerHale,” issued by the President and published on March 27, 2025, and DENIED as
to the remaining Sections of the Executive Order; it is further

ORDERED that defendants are ENJOINED from implementing or enforcing
Sections 3 and 5 of the Executive Order; it is further

ORDERED that defendants must suspend and rescind any implementation or

enforcement of Sections 3 and 5 of the Executive Order; and it is further
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ORDERED that the parties shall file, by 4:00 PM on March 31, 2025, a joint status
report proposing an expedited schedule to govern further proceedings in this case.
SO ORDERED.
Sead hacn

RICHARD J. LEON
United States District Judge

